                       Case 1:13-cv-00633-DEP Document 374 Filed 05/13/16 Page 1 of 5
AO 120 (Rev. 08/10)                                                  AMENDED
                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                   Northern District of New York                              on the following
      G Trademarks or         ✔ Patents.
                              G             (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
       1:13-CV-633                          6/3/2013                                        Northern District of New York
PLAINTIFF                                                                    DEFENDANT
 Rensselaer Polytechnic Institute and                                          Apple Inc.
 Dynamic Advances, LLC


        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 7,177,798 B2                             2/13/2007                   Rensselaer Polytechnic Institute

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 Order issued on 5/2/2016 approving Stipulation of Dismissal of all claims pending in this action on the basis of
 settlement between the parties. See Dkt. No. 372 attached.



CLERK                                                        (BY) DEPUTY CLERK                                          DATE
Lawrence K. Baerman                                            Shelly Muller                                               5/13/2016

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF NEW YORK
                            ALBANY DIVISION


  RENSSELAER POLYTECHNIC                           §
  INSTITUTE AND DYNAMIC                            §
  ADVANCES, LLC,                                   §
                                                   §
          PLAINTIFFS,                              §         CIVIL ACTION NO. 1:13-cv-633
                                                   §
  V.                                               §
                                                   §
  APPLE INC.,                                      §

          DEFENDANT.


                    STIPULATION AND ORDER OF DISMISSAL


        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs
RENSSELAER POLYTECHNIC INSTITUTE and DYNAMIC ADVANCES, LLC and
Defendant APPLE INC., hereby stipulate to the dismissal of all claims pending in this
action on the basis of a settlement between the parties on the following terms:

        IT IS HEREBY STIPULATED AND AGREED that all claims for relief asserted
against APPLE INC. by Plaintiffs RENSSELAER POLYTECHNIC INSTITUTE and
DYNAMIC ADVANCES, LLC herein shall be dismissed, with prejudice, and all
counterclaims for relief against Plaintiffs RENSSELAER POLYTECHNIC INSTITUTE
and DYNAMIC ADVANCES, LLC by APPLE INC. shall be dismissed without prejudice;
and

        IT IS FURTHER STIPULATED AND AGREED that all attorneys’ fees, costs of
court and expenses shall be borne by each party incurring the same and none of the parties
shall be required to pay any costs, attorney fees or other expenses of another party that are
associated with the matters settled by this Order of Dismissal.
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Dated: April 29, 2016                  Respectfully submitted,

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Shellie Stephens (107164)
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   Case 1:13-cv-00633-DEP Document 374 Filed 05/13/16 Page 4 of 5



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SO ORDERED:

Dated: May 2, 2016
                                   __________________________
                                   HON. DAVID E. PEEBLES
                                   U.S. Magistrate Judge
